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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY
                                 (LOUISVILLE DIVISION)

 PENELOPE C. JONES,                )
                                   )
        Plaintiff                  )
                                   )
 v.                                )                         Case No. 3:15-cv-248-JGH
                                   )
 PHOENIX MANAGEMENT SYSTEMS, INC. )
 d/b/a PHOENIX MANAGEMENT SYSTEMS, )
 ET AL.                            )
                                   )
        Defendants                 )

                                             ** ** ** **
                               AGREED ORDER OF DISMISSAL

        Upon agreement of the Plaintiff, Penelope C. Jones, and the Defendant, Experian

 Information Solutions, Inc., each by counsel, and the Court being otherwise sufficiently advised;

        IT IS HEREBY ORDERED that Plaintiff’s claims asserted in this litigation against

 Experian Information Solutions, Inc. are hereby DISMISSED WITH PREJUDICE as settled, each

 party to bear its own attorneys’ fees and costs.


                                                                            December 28, 2015



 TENDERED BY:                                       HAVE SEEN AND AGREE:

 /s/David W. Hemminger                              /s/Aaron M. Healey______________
 David W. Hemminger                                  Aaron M. Healey
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